Case 1:23-cv-01249-MN       Document 9   Filed 01/18/24     Page 1 of 21 PageID #: 283




                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

OPTIMORPHIX, INC.,                       )
                                         )
              Plaintiff,                 )
                                         )
       v.                                )      C.A. No. 23-1249-MN
                                         )
ORACLE CORPORATION,                      )
                                         )
              Defendant.                 )


   DEFENDANT’S OPENING BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
                 PURSUANT TO FED. R. CIV. P. 12(b)(6)

                                             John W. Shaw (No. 3362)
                                             Karen E. Keller (No. 4489)
OF COUNSEL:                                  Andrew E. Russell (No. 5382)
Jared Bobrow                                 Lindsey M. Gellar (No. 7202)
Diana Rutowski                               SHAW KELLER LLP
Jason Yu                                     I.M. Pei Building
Parth Sagdeo                                 1105 North Market Street, 12th Floor
ORRICK, HERRINGTON & SUTCLIFFE LLP           Wilmington, DE 19801
1000 Marsh Road                              (302) 298-0700
Menlo Park CA 94025-1015                     jshaw@shawkeller.com
(650) 614-7400                               kkeller@shawkeller.com
                                             arussell@shawkeller.com
Michael Chow                                 lgellar@shawkeller.com
ORRICK, HERRINGTON & SUTCLIFFE LLP           Attorneys for Defendant
2050 Main Street, Suite 1100
Irving, CA 92614
(949) 567-6700

Sarah Mullins
ORRICK, HERRINGTON & SUTCLIFFE LLP
405 Howard Street
San Francisco, CA 94105
(415) 773-5700

Dated: January 18, 2024
Case 1:23-cv-01249-MN                  Document 9               Filed 01/18/24              Page 2 of 21 PageID #: 284




                                              TABLE OF CONTENTS

                                                                                                                           Page No.

I.     NATURE AND STAGE OF THE PROCEEDING........................................................... 1
II.    SUMMARY OF ARGUMENT ......................................................................................... 1
III.   STATEMENT OF FACTS ................................................................................................ 2
IV.    PLAINTIFF’S COMPLAINT FAILS TO STATE A CLAIM .......................................... 3
       A.        Rule 12(b)(6) Requires Factual Allegations, Not Mere Conclusions .................... 3
       B.        The Complaint Fails To State A Plausible Claim For Patent Infringement .......... 4
                 1.         The ’314 Patent .......................................................................................... 5
                 2.         The ’871 Patent .......................................................................................... 6
                 3.         The ’169 Patent .......................................................................................... 7
                 4.         The ’021 Patent .......................................................................................... 9
                 5.         The ’273 Patent ........................................................................................ 10
                 6.         The ’901 Patent ........................................................................................ 11
                 7.         The ’418 Patent ........................................................................................ 13
                 8.         The ’664 Patent ........................................................................................ 15
       C.        Having Failed To Plead Direct Infringement, OM’s Indirect Infringement
                 Claims Also Must Fail ......................................................................................... 17
       D.        The Complaint Presents A Burdensome And Administratively Complex
                 Case That Can And Should Be Simplified .......................................................... 17
V.     CONCLUSION ................................................................................................................ 18




                                                                 i
Case 1:23-cv-01249-MN                      Document 9               Filed 01/18/24             Page 3 of 21 PageID #: 285




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...............................................................................................................3, 4

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...................................................................................................................3

In re Bill of Lading Transmission & Processing Sys. Pat. Litig.,
    681 F.3d 1323 (Fed. Cir. 2012)................................................................................................17

Bot M8 LLC v. Sony Corp. of Am.,
   4 F.4th 1342 (Fed. Cir. 2021) .......................................................................................... passim

Golden v. Intel Corp.,
   No. 2023-1257, 2023 WL 3262948 (Fed. Cir. May 5, 2023) ......................................3, 4, 5, 15

Lexington Luminance LLC v. Bulbrite Indus., Inc.,
   2023 WL 143911 (D.N.J. Jan. 10, 2023) ...................................................................................3

Secured Mail Sols. LLC v. Universal Wilde, Inc.,
   873 F.3d 905 (Fed. Cir. 2017)....................................................................................................4

Vervain, LLC v. Micron Tech., Inc.,
   2022 WL 23469 (W.D. Tex. Jan. 3, 2022) ................................................................................3

Other Authorities

Federal Rule of Civil Procedure 12(b)(6) ....................................................................................1, 3




                                                                    ii
Case 1:23-cv-01249-MN          Document 9        Filed 01/18/24    Page 4 of 21 PageID #: 286




I.     NATURE AND STAGE OF THE PROCEEDING

       Plaintiff OptiMorphix, Inc. (“OM”) filed this lawsuit on November 1, 2023, alleging that

Defendant Oracle Corporation (“Oracle”) infringes eight patents that relate to network

communications, video, and multimedia: U.S. Patent Nos. 7,031,314 (the “‘314 patent”);

7,099,273 (the “‘273 patent”); 7,444,418 (the “‘418 patent”); 7,586,871 (the “‘871 patent”);

8,429,169 (the “‘169 patent”); 8,521,901 (the “’901 patent”); 9,167,021 (the “‘021 patent”); and

9,191,664 (the “‘664 patent”). Complaint, D.I. 1 (“Compl.”); id., Exs. 1-8. Oracle now moves to

dismiss under Federal Rule of Civil Procedure 12(b)(6).

II.    SUMMARY OF ARGUMENT

       OM’s complaint fails to state a plausible claim for infringement and should be dismissed.

OM alleges that more than a dozen different Oracle products and services infringe one or more of

eight unrelated patents. Despite the breadth of its complaint, OM’s claims of infringement are

conclusory, incomplete, and lacking in factual allegations. The complaint largely just parrots

claim language without reciting any facts suggesting that Oracle’s products practice the claims. In

some cases, OM fails even to allege that critical claim limitations are met at all. In other cases,

OM’s allegations cite and rely on incorporated documents that are actually inconsistent with, and

thus undermine the assertion of, infringement.

       OM’s scattershot—and incomplete—approach culminates in a set of allegations that fail to

put Oracle on notice of OM’s infringement claims. To address this, Oracle reached out to OM’s

counsel on January 10, 2024, outlined the complaint’s deficiencies, and invited OM to amend its

complaint to cure the defects or withdraw its claims, but OM declined to amend. Moving forward

with OM’s complaint will require the Court and the parties to construe a myriad of terms across

eight patents, supervise and conduct discovery on at least 16 Oracle products and features, contend




                                                 1
Case 1:23-cv-01249-MN           Document 9        Filed 01/18/24    Page 5 of 21 PageID #: 287




with depositions of up to 22 different named inventors, address summary judgment and Daubert

issues across these patents and products, and try a case that no doubt will involve double-digit

numbers of fact and expert witnesses and hundreds of exhibits. Before allowing OM to impose

these costly and time-consuming burdens on the Court and Oracle, OM should be required to

justify this undertaking by pleading facts – not mere conclusions—which suggest that infringement

is plausible. Its failure to do so warrants dismissal.

III.    STATEMENT OF FACTS

        OM, which was incorporated in Delaware on February 17, 2023, acquired a “portfolio of

patents developed at Bytemobile and later Citrix.” Compl. ¶ 8; Ex. A. Since September 27, 2023,

OM has launched a litigation campaign of tremendous scope, asserting these patents in seven

different cases in the District of Delaware and the Eastern District of Texas. 1 Nowhere in the

complaint does OM allege that it makes any products or performs any methods covered by the

patents-in-suit.

        OM asserts eight patents against Oracle that relate to network communications, video, and

multimedia. Compl. ¶¶ 15-76. OM accuses at least 16 Oracle products and services and multiple

unspecified versions thereof of infringing its patents. Id. ¶¶ 77-279.

        On January 10, 2024, counsel for Oracle sent a letter to counsel for OM that outlined the

deficiencies addressed herein, indicated Oracle’s intent to file the instant motion, and invited OM

to amend or meet and confer. Ex. B. OM’s counsel responded by email on January 16, 2024, and

confirmed on a follow-up call that it would not be amending the Complaint to address the

deficiencies. Ex. C.




1
 Case Nos. 23-cv-1065 (D. Del.), 23-cv-1146 (D. Del.), 23-cv-123 (E.D. Tex.), 23-cv-1249 (D.
Del.), 23-cv-126 (E.D. Tex.), 23-cv-134 (E.D. Tex.), 23-cv-150 (E.D. Tex.).


                                                  2
Case 1:23-cv-01249-MN          Document 9        Filed 01/18/24      Page 6 of 21 PageID #: 288




IV.    PLAINTIFF’S COMPLAINT FAILS TO STATE A CLAIM

         A.      Rule 12(b)(6) Requires Factual Allegations, Not Mere Conclusions

       A court should dismiss claims challenged under Rule 12(b)(6) when the pleading does not

contain enough factual allegations to state “plausible” claims for relief. Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007). A “plausible” claim requires more than mere “labels and conclusions”

or “a formulaic recitation of the elements of a cause of action.” Id. at 555; see also Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (“Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.”). The “[f]actual allegations must be

enough to raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555.

       To state a claim for relief for patent infringement, a plaintiff must plead “factual content”

creating a reasonable inference that the accused product or method infringes the asserted patent

claims. Bot M8 LLC v. Sony Corp. of Am., 4 F.4th 1342, 1352-53 (Fed. Cir. 2021) (“There must

be some factual allegations that, when taken as true, articulate why it is plausible that the accused

product infringes the patent claim”) (citations omitted). “[A] plaintiff cannot assert a plausible

claim for infringement ... by reciting the claim elements and merely concluding that the accused

product has those elements.’” Golden v. Intel Corp., No. 2023-1257, 2023 WL 3262948, at *2

(Fed. Cir. May 5, 2023) (citing Bot M8 LLC, 4 F.4th at 1352-53). This is particularly true for those

claim limitations that go to the heart of the invention or point of novelty. See Bot M8, 4 F.4th at

1353 (“The level of detail required in any given case will vary depending upon a number of factors,

including … the materiality of any given element to practicing the asserted claim(s).”); Vervain,

LLC v. Micron Tech., Inc., 2022 WL 23469, at *5 (W.D. Tex. Jan. 3, 2022) (interpreting Bot M8

to require “a higher level of detail in pleading infringement … for elements clearly ‘material’ to

novelty and non-obviousness”); Lexington Luminance LLC v. Bulbrite Indus., Inc., 2023 WL

143911, at *5 (D.N.J. Jan. 10, 2023) (agreeing with the Vervain court that a “higher level of detail


                                                  3
Case 1:23-cv-01249-MN          Document 9        Filed 01/18/24      Page 7 of 21 PageID #: 289




in pleading infringement” may be demanded for “elements clearly ‘material’ to novelty and non-

obviousness”). Omitting factual allegations suggesting that the accused products include the “key

language from the identified claims that would be essential for proving infringement” fails to

“place [a defendant] on notice of what activity ... is being accused of infringement” and should be

dismissed. Golden, No. 2023-1257, 2023 WL at *2 (quoting Bot M8 LLC, 4 F.4th at 1352).

       The tenet that a court must accept as true all of the allegations contained in a complaint is

“inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678. The tenet also does not apply to

“allegations that contradict matters properly subject to judicial notice or by exhibit, such as the

claims and the patent specification.” Secured Mail Sols. LLC v. Universal Wilde, Inc., 873 F.3d

905, 913 (Fed. Cir. 2017) (quotations and citations omitted). “Where … the factual allegations

are actually inconsistent with and contradict infringement, they are likewise insufficient to state a

plausible claim.” Bot M8 LLC, 4 F.4th at 1354. Thus, “a patentee may subject its claims to early

dismissal by pleading facts that are inconsistent with the requirements of its claims.” Id. at 1346.

         B.      The Complaint Fails To State A Plausible Claim For Patent Infringement

       Across OM’s complaint, there are three primary and interrelated deficiencies in OM’s

allegations.   First, the complaint merely parrots claim language without providing factual

allegations that identify what in the accused product allegedly meets the claim elements. This

style of pleading is insufficient to state a claim. See Bot M8 LLC, 4 F.4th at 1352-55 (“mere

recitation of claim elements and corresponding conclusions, without supporting factual

allegations, is insufficient to satisfy the Iqbal/Twombly standard”). Second, in multiple instances,

OM fails to allege that Oracle’s products include critical claim limitations. See Golden, 2023 WL

3262948, at *2 (allegations that “omit key language … that would be essential for proving

infringement” fail to meet the plausibility standard and should be dismissed). Third, in other

instances, the documents that OM incorporates by reference into its pleading are “actually


                                                 4
Case 1:23-cv-01249-MN          Document 9       Filed 01/18/24      Page 8 of 21 PageID #: 290




inconsistent with and contradict infringement,” and thus are “insufficient to state a plausible

claim.” Bot M8, 4 F.4th at 1354. Based on these failures, OM’s complaint should be dismissed.

               1.      The ’314 Patent

       The ’314 Patent relates to the delivery of “differentiated services,” such as email

compression (which reduces the size of email data packets), to different types of network traffic.

See ’314 Patent, 2:20-27. Prior art systems often required email-related data packets to be

“explicitly address[ed]” to a proxy server (an intermediary server between an email sender and

receiver) in order for the packets to be identified and routed to email compression software. Id.,

1:59-2:3. The ’314 Patent purports to have streamlined this process by automatically detecting

and routing network traffic according to predetermined rules. For example, asserted claim 27

recites a system that is capable of (1) classifying a connection between a client and server based

on whether the connection “matches a predetermined service criteria”; (2) forming connections

between the client and a service module and between the service module and the server; and, (3)

“redirect[ing] at least a portion of data communicated between the client and the server to the

service application associated with the predetermined service criteria.” Id., claim 27.

       OM alleges that “Oracle Cloud Infrastructure (including Oracle Traffic Management and

Oracle Network Load Balancer)” and Oracle’s “Fusion Middleware” software, “including Oracle

Traffic Director,” infringe claim 27. Compl. ¶ 79. But OM’s allegations do not state a plausible

claim because OM never alleges what in Oracle’s products corresponds to the “service module”

or “service application” or what “predetermined service criteria” the Oracle products use to

classify and redirect network traffic. Instead, the complaint simply recites the claim language with

minor, non-substantive alterations. See, e.g., id. ¶¶ 87 (“The Oracle ’314 Products contain

functionality for establishing an initial connection between the client and the service module, and

a subsequent connection between the service module and the server ….”), 91 (alleging that the


                                                 5
Case 1:23-cv-01249-MN            Document 9      Filed 01/18/24      Page 9 of 21 PageID #: 291




accused products “redirect a portion or more of the data communication between the client and a

server towards the service application related to the pre-established service parameters”). Much

more is required to state a plausible claim for relief. See Bot M8, 4 F.4th at 1353 (holding that

“reciting the claim elements and merely concluding that the accused product has those elements”

is insufficient to state a claim).

        Even if OM were to contend that Oracle’s Traffic Director software is the “service

application” (the complaint does not allege this), it still has not stated a plausible claim. None of

the product-related documents or video screenshots included in the complaint show or suggest that

Oracle’s products “redirect at least a portion of data communicated between the client and the

server to the service application associated with the predetermined service criteria,” as claim 27

requires. In fact, they show the opposite: they show Traffic Director redirecting network traffic

from Traffic Director to back-end servers. See Compl. ¶ 87 (showing traffic being distributed by

Traffic Director instances to “a server pool in the back end”). In other words, nothing in the

complaint suggests that data is being communicated to Traffic Director. Where allegations in a

complaint are “actually inconsistent with and contradict infringement,” they are “insufficient to

state a plausible claim.” Bot M8, 4 F.4th at 1354.

                2.      The ’871 Patent

        The ’871 Patent relates to “method[s] for processing data communication[s].” See ’871

Patent, claim 1. One example of “processing” is content filtering by a “node” located between two

computers connected over a network. Id., 1:47-60, 2:23-39, 3:15-39. The patent purportedly

speeds up the filtering process by only filtering content requests (which tend to be small and can

be processed quickly) while letting responses to those requests (which tend to be large and take a

long time to process) pass through the node without processing. Id., 4:37-43. Asserted claim 1

captures that purported improvement. It recites steps for detecting and processing an initial “data


                                                 6
Case 1:23-cv-01249-MN         Document 9       Filed 01/18/24      Page 10 of 21 PageID #: 292




communication” from a first data network at the node, and then detecting “return data

communication arriving at the node from [a] second data network … and allowing the detected

return data communication to pass through the node without processing.” Id., claim 1.

       OM alleges that the “Threat Intelligence” and “Network Firewall” functionality of Oracle’s

Cloud Infrastructure infringes claim 1 because it monitors incoming communications and

determines whether to allow or disallow the communication based on “rules and policies

configured by” the Oracle products. Compl. ¶¶ 161, 164-67. But OM fails to identify any “return”

communications, allege how such communications would arrive at the same node, state how such

communications would be detected at that node, or allege how such communications would be

allowed to pass through the node without any processing. Instead, OM merely parrots the claim

language in conclusory fashion. Id., ¶¶ 168 (“The Oracle ’871 Products detect a return data

communication arriving at the node from the second data network in response to the processed

data communication from the first data network. Further the Oracle ’871 Products allow the

detected return data communication to pass through the node without processing.”), 169 (“The

Oracle ’871 Products monitor the incoming data communication from the second data network. If

the detected return data communication is associated with prior processed data communication

from the first network the Oracle ’871 Products determine that the return data communication does

not need further processing at the node.”). Because OM simply recites claim elements and

concludes that the accused products have them without any supporting factual allegations, it has

failed to assert a plausible claim for infringement. See Bot M8, 4 F.4th at 1353.

               3.     The ’169 Patent

       The ’169 Patent discloses and claims a specific method of caching content on the Internet.

Content caching, the ’169 Patent explains, is a prior art technique in which a “cache” located

between a user and a web server serves web content to the user. ’169 Patent, 3:6-16. Instead of


                                                7
Case 1:23-cv-01249-MN         Document 9       Filed 01/18/24      Page 11 of 21 PageID #: 293




communicating directly with a web server, requests from the user first go to the cache. Id., 8:29-

37. The cache then uses a lookup “index” (akin to a book index) to determine whether it already

is storing the requested content. Id. If, based on the lookup index, the cache has the requested

content, then the cache directly provides the requested content to the user. Id. Otherwise, the

cache requests the content from the web server, stores and indexes it, and forwards it to the user.

Id., 8:38-54.   According to the ’169 Patent, prior art caches used a requested URL (e.g.,

youtu.be/ax7QHQTbKQE, which points to the Federal Judicial Center’s patent video for jurors)

as the lookup index of the cache. Using a URL as the cache index is disadvantageous, the ’169

Patent contends, because multiple different URLs might point to the same content, causing the

same content to be stored multiple times. Id., 3:17-62.

       As reflected in asserted claim 1, the ’169 Patent purports to overcome the problems

associated with URL-based indexing by “requesting, from a web server, a portion of content

associated with the received content request,” and using that “portion” to generate a cache index.

Id., claim 1; 8:18-54. The use of a “portion” of the requested content to generate a cache index is

at the heart of claim 1. During prosecution, the applicant distinguished the prior art as not

disclosing this “requesting . . . a portion” limitation. Ex. D (Nov. 1, 2012 Reply to OA), at 11-13.

       Despite the centrality of this limitation, OM has not even attempted to plead that Oracle

performs it. OM contends generically that Oracle Cloud Infrastructure’s (“OCI’s”) caching feature

infringes. Compl. ¶¶ 183-200. But the complaint’s generic allegations cannot suffice when the

’169 Patent admits that web caching was known in the prior art, and the complaint does nothing

to suggest that OCI uses a portion of the content to generate a cache index. Instead, the complaint

actually shows that Oracle uses the noninfringing URL-based approach that the ’169 Patent admits

is prior art—specifically, the complaint includes documentation showing that OCI’s caching




                                                 8
Case 1:23-cv-01249-MN         Document 9       Filed 01/18/24      Page 12 of 21 PageID #: 294




feature uses a requested URL to generate the cache index.               Id. ¶ 187 (accusing the

“URL_PART_CONTAINS” criterion).            OM cannot state a plausible claim when the very

documentation on which it relies does not support its claim and, to the contrary, suggests that

Oracle uses an admitted prior art approach. Bot M8, 4 F.4th at 1346 (“[A] patentee may subject

its claims to early dismissal by pleading facts that are inconsistent with the requirements of its

claims.”).

               4.     The ’021 Patent

       The ’021 Patent claims a way to measure how long it takes for a user to download a

webpage. When a user requests a webpage, the user must download not just the page itself

(typically an HTML file), but also all other objects (e.g., images and source code) to which the

page refers (the page’s “embedded objects”). ’021 Patent, 1:7-25. The user retrieves each

webpage and embedded object using a separate HyperText Transfer Protocol (“HTTP”)

transaction. Id. Thus, a webpage’s download time includes not just the time taken by the HTTP

transaction for the webpage itself, but also the time taken by the HTTP transactions for the page’s

embedded objects. The ’021 Patent acknowledges that it was known in the prior art how to

measure webpage download time at a user’s device or, in some cases, at a web server; doing so is

“straightforward” because these devices have “complete knowledge” of each webpage’s

associated objects. Id., 1:26-45. But, the ’021 Patent contends, it was infeasible to measure

webpage download time at an intermediate network node—that is, a node between the user and

the server—because an intermediate node lacks the information needed to associate HTTP

transactions for embedded objects with the objects’ respective webpages. Id., 1:46-58.

       The purported invention of asserted claim 1 is a technique that allows an intermediate

network node to measure a webpage’s download time. It does so by “creating a boundary of a

page unit” and grouping HTTP transactions into one “transactions set” (corresponding to a


                                                9
Case 1:23-cv-01249-MN          Document 9       Filed 01/18/24       Page 13 of 21 PageID #: 295




webpage) or another based on the “boundary.” ‘021 Patent, claim 1.           If an HTTP transaction

occurs prior to the “boundary,” it “belongs with [a] previous transaction set.” Id. If the transaction

occurs after the “boundary,” it “does not belong with the previous transactions set.” Id.

       “Creating a boundary of a page unit” is at the heart of the ’021 Patent’s claimed invention.

During prosecution, the applicant distinguished the prior art as not disclosing the “boundary”

limitation. Ex. E (Dec. 23, 2014 Remarks in Response to Final OA), at 20. In short, the ’021

Patent’s claimed invention is not merely measuring page download times, but specifically doing

so by creating a temporal “boundary of a page unit” and associating an observed transaction with

one webpage or another depending on whether the transaction was before or after the “boundary.”

       The complaint fails to plausibly allege that the accused Oracle products—Oracle Cloud

Infrastructure (OCI) and Oracle Cloud Management (OCM) (including Oracle IT Analytics and

Application Performance Monitoring) (Compl. ¶ 230)—practice this critical “boundary”

limitation. The complaint includes only the following two sentences for this limitation: “In cases

where a transaction is evaluated as not belonging to the current set, a ‘page boundary’ is created

by the Oracle ’021 Products. This boundary serves as a cutoff for metrics calculations like average

time spent on a page or session.” Id. ¶ 242. These allegations do not plausibly allege that the

accused Oracle products associate an observed transaction with one webpage or another depending

on whether the transaction was before or after a temporal “boundary of a page unit,” as claimed.

OM’s first sentence is a mere restatement of the claim language without any factual content and is

therefore not sufficient. OM’s second sentence, even if taken as true, merely describes how the

alleged “boundary” is used—not what the “boundary” in the accused Oracle products is or how it

is created, which is what OM must plausibly allege to state a claim for infringement.

               5.      The ’273 Patent

       The ’273 Patent claims a method of transferring data from a sender to a receiver. See ’273


                                                 10
Case 1:23-cv-01249-MN         Document 9        Filed 01/18/24      Page 14 of 21 PageID #: 296




Patent, Claim 1.    The claims involve measuring and controlling parameters related to the

performance of the network. See id. The crux of the claims involves setting the period of a

“transmit timer” and using that timer to trigger the sending of data (“additional data packets”) to

the receiver. See id. The patent states that its alleged improvements to network performance are

gained “by utilizing a transmit timer incorporated within the sender device.” Id., Abstract.

       OM alleges that “Oracle Linux Release 7.5 and later” software on two different computer

architectures infringes claim 1 of the ’273 Patent. See Compl. ¶¶ 106-21. However, the complaint

fails to plead any facts suggesting that Oracle’s products include a “transmit timer” as required by

the claims. Id. The “transmit timer” limitation is a critical piece of the claims, as it is allegedly

how the patent’s improvement is “achieved.” ’273 Patent, Abstract. Rather than make factual

allegations showing the existence of the “transmit timer,” OM just parrots the claim language.

OM’s complaint says only that: “The Oracle ‘273 Products transmit additional data packets to the

receiver in response to a transmit timer expiration. The period of the transmit timer is based on the

round-trip time measurements and the congestion window parameter.” Compl. ¶ 121. This is

nothing more than a conclusion. OM’s “mere recitation” of this critical “transmit timer” limitation

does not “satisfy the Iqbal/Twombly standard.” Bot M8 LLC, 4 F.4th at 1355.

               6.      The ’901 Patent

       The ’901 Patent claims a method for a “packet scheduler” in a data communication system

to prevent bursts of data from being sent over the network. See ’901 Patent, Claim 1. The “packet

scheduler” receives data from a “sending layer” and delays delivery of that data to a “receiving

layer” based on a calculated delay time, where the “scheduler” and the two “layers” are

components of the same device. See id. During prosecution, the Applicant overcame a rejection

by amending the claims to require calculating a delay time for transmissions determined to be part

of a “bursty transmission” and using that delay time to delay delivery of data (the “TCP packet”)


                                                 11
Case 1:23-cv-01249-MN          Document 9        Filed 01/18/24      Page 15 of 21 PageID #: 297




to the “receiving layer.” See Ex. F (Jan. 4, 2013 Reply to OA) at 2, 7, 11-12. The Patent Office

allowed the application on this basis. See Ex. G (May 10, 2013 Notice of Allowance) at 3-4.

       OM’s claim should be dismissed because OM alleges facts inconsistent with the claim

language, thereby rendering its claim implausible. First, OM alleges that the Oracle products meet

the claim requirement of “calculating a delay time for a connection using the last packet delivery

time after determining that the TCP packet is part of a bursty transmission” when the products

“measure latency and jitter for each connection/link” and then use the measurement “to determine

the burstiness of a TCP packet transmission.” Compl. ¶ 215; ’901 Patent, Claim 1. But this

allegation is inconsistent with the claim language because it pleads that the delay calculation

occurs before determining “burstiness,” not after as required by the claims. See id. The complaint

is thus inconsistent with the claims and cannot plausibly allege infringement. See Bot M8 LLC, 4

F.4th at 1354 (“Where … the factual allegations are actually inconsistent with and contradict

infringement, they are likewise insufficient to state a plausible claim.”).

       Second, OM’s allegation that the Oracle products meet the claim requirement of “delaying

delivering the TCP packet to a receiving layer based on the calculated delay time, wherein the

receiving layer is one of the network interface layer or the transport layer that is not the

sending layer” also is inconsistent with the claim language. ’901 Patent, Claim 1 (emphasis

added); Compl. ¶ 216. OM appears to plead that a “stream” in Oracle’s products is the claimed

“receiving layer.” Compl. ¶ 216. The Oracle document on which OM’s complaint relies states

that “[a] stream can be thought of as a sub-layer between the transport layer and the upper

layer.” Id. (emphasis added). The ’901 Patent describes the sequence of layers in the “network

architecture on a host or a server” using the division of the “Open Systems Interconnection Basic

Reference Model (OSI Model).” ’901 Patent, 3:30-44. This division makes clear that the network




                                                 12
Case 1:23-cv-01249-MN          Document 9       Filed 01/18/24       Page 16 of 21 PageID #: 298




interface layer is below the transport layer. Specifically, the ’901 Patent describes the seven layers

of the network architecture from bottom to top: “the physical layer, the data link layer (which can

further include the logical link control (LLC) sublayer and the media access control (MAC)

sublayer), network layer, transport layer, session layer, presentation layer, and application layer”).

Id. at 3:35-39, 3:42 (“Application Layer 210 is the topmost layer”). This layering is shown visually

throughout the figures in the specification:




See, e.g., id. Fig. 2A; 3:63-65 (“TCP/IP Stack Layer 220 may include, among other things, the

transport layer”). Because the accused Oracle “stream” is “between the transport layer and the

upper layer” (i.e., it is above the transport layer), and because the network interface layer is below

the transport layer, the “stream” cannot be “one of the network interface layer or the transport

layer.”

                 7.     The ’418 Patent

          The ’418 Patent purportedly addresses “disruption or significantly degraded performance”

of multimedia (e.g., audio and video data) caused by bandwidth-constrained networks. ’418

Patent, 1:38-50. Asserted claim 1 does so by redirecting multimedia data encoded at an original

data rate to a “service module” to “transcode” that data (which involves converting the data from

one form to another) to a lower data rate to match an “available transmission rate” on the


                                                 13
Case 1:23-cv-01249-MN         Document 9        Filed 01/18/24      Page 17 of 21 PageID #: 299




constrained network if the original data rate is greater than the available transmission rate. Id.,

claim 1. This “available” rate is “estimated” by the service module using the time it takes for data

to make the trip between the service module and a receiver. Id.

       OM asserts that Oracle WebRTC Session Border Controller and Oracle Communications

Session Border Controller, Releases S-CZ7.2.0 and later infringe at least claim 1. Compl. ¶¶ 135,

155. OM’s complaint, however, does not plead any facts suggesting that the Oracle products meet

the critical limitations of claim 1. 2 Instead, OM merely parrots the claim language and recites bare

conclusions. Compl. ¶¶ 137-48. For example, for “estimating an available transmission rate,” OM

alleges:

               The Oracle ‘418 Products contain functionality for estimating an
               available transmission rate of a receiver-side connection. This step
               is critical for dynamically adapting the multimedia stream to match
               the capabilities of the receiving end and the conditions of the
               network. The estimation process performed by the Oracle ‘418
               Products involves measuring the trip time of data packets
               communicated between the service module and the receiver via the
               second channel.

Id., ¶ 140. These are conclusions, not factual allegations. Moreover, the documents to which the

complaint refers for support (id., ¶¶ 137, 143) say nothing about estimating transmission rates, let

alone an estimate involving the trip time of communicated data. Similarly, for the limitation that

requires “transcoding” multimedia data “if the first transmission rate is greater than the available

transmission rate,” OM pleads conclusions, not facts:

               The Oracle ‘418 Products contain functionality that, if the first
               transmission rate is greater than the available transmission rate,
               transcodes the digital multimedia information to conform the digital
               multimedia information to the available transmission rate.
               Specifically, the Oracle ‘418 Products determine if there is a need
               for transcoding by comparing the first transmission rate (original

2
  The patent applicant argued that the “estimating” and “transcoding” limitations are what
distinguished the ’418 patent claims from prior art. See, e.g. Ex. H (Jan. 5, 2007 Response to OA),
at 9-10 and Ex. I (Sept. 14, 2007 Response to OA), at 11-12.

                                                 14
Case 1:23-cv-01249-MN          Document 9       Filed 01/18/24       Page 18 of 21 PageID #: 300




               encoding rate) with the estimated available transmission rate.

Compl. ¶ 142. Once again, these are bare conclusions, not factual allegations. And once again,

the excerpts from the documents to which the complaint refers for support do not make

infringement plausible because they do not describe transcoding data to a lower estimated available

transmission rate if the original encoding rate is greater than an estimated available transmission

rate. 3 Id., ¶¶ 137, 143. An allegation that Oracle products simply transcode data is not enough

because transcoding was known in the prior art. See, e.g. Ex. J (Apr. 6, 2007 OA), at 2-4

(identifying prior art that disclosed transcoding). Because OM simply “recite[s] the claim

elements and merely conclud[es] that the accused [Oracle products have] those elements,” OM

fails to state a plausible claim for infringement. Golden, 2023 WL 3262948 at *2.

               8.      The ’664 Patent

       The ’664 patent discloses a system and method that adjust the bitrate of streaming media

(i.e., audio and video) based on network capacity to optimize the viewing and listening experience

for a user and to avoid problems that arise when transferring data at a fixed bitrate over a

connection that lacks sufficient bandwidth. ’664 Patent, 1:23-35; 2:44-55. Asserted claim 9 does

this by “receiving” an “optimal session bitrate,” “allocating” that optimal session bitrate to produce

an “optimal audio bitrate” and an “optimal video bitrate,” and then “encoding” the audio data and

video data using their respective optimal bitrates. Id., claim 9.

       OM asserts that the Oracle Cloud Infrastructure (“OCI”), including “Media Services,


3
  These same deficiencies exist for other claim elements, as the cited documents fail to disclose
breaking a connection between a transmitter and a receiver, forming first and second channels, or
redirecting data to a service module. In fact, OM fails even to allege that the Oracle products
perform the steps of breaking a connection, forming first and second channels, and redirecting data
to a service module. These are all essential steps of claim 1, and OM’s deficient allegations about
them provide another independent basis to dismiss OM’s claim. See Compl. ¶¶ 133-58; see
Golden, 2023 WL 3262948 at *2 (allegations that “omit key language … that would be essential
for proving infringement” fail to meet the plausibility standard and should be dismissed).


                                                 15
Case 1:23-cv-01249-MN          Document 9       Filed 01/18/24       Page 19 of 21 PageID #: 301




Media Streams, and Media Flow functionality,” infringe claim 9. Compl. ¶ 255. OM, however,

fails to allege sufficient facts to create a plausible inference that the Oracle products encode audio

data using an optimal audio bitrate and encode video data using an optimal video bitrate. The

document on which OM relies for its allegations actually undermines OM’s claim, because the

excerpt discusses only transcoding data; it mentions nothing about encoding data:




Id., ¶ 260. This is fatal to OM plausibly alleging infringement, because transcoding and encoding

are different processes. As OM admits, encoding is the process of “compressing the raw [] data

according to a specific encoding algorithm.” Id. ¶¶ 264, 266 (emphasis added). Transcoding,

however, is a different process that involves receiving already encoded data and altering it. See,

e.g., ’418 Patent, Abstract (“If the transmission rate at which the multimedia information is

encoded is greater than the available transmission rate, the multimedia information may be

transcoded to conform the multimedia information to the available transmission rate.”).

       Furthermore, OM never pleads any facts suggesting that Oracle’s products “allocate[e] the

optimal session bitrate between the audio media data and the video media data to produce an

optimal audio bitrate and an optimal video bitrate,” another required step of claim 9. Instead, the

cited excerpts describe receiving media data, transcoding the media data, and transmitting the

transcoded data to a consumer—not allocating an optimal bit rate between audio and video data.


                                                 16
Case 1:23-cv-01249-MN           Document 9       Filed 01/18/24     Page 20 of 21 PageID #: 302




See Compl., ¶¶ 257-58, 260, 265. Given the absence of factual allegations supporting the

“allocating” limitation, OM’s claim is implausible and should be dismissed.

           C.      Having Failed To Plead Direct Infringement, OM’s Indirect Infringement
                   Claims Also Must Fail

          Because OM fails to adequately plead direct infringement, its indirect infringement claims

also fail and must be dismissed. See In re Bill of Lading Transmission & Processing Sys. Pat.

Litig., 681 F.3d 1323, 1333 (Fed. Cir. 2012) (“Because liability for indirect infringement of a

patent requires direct infringement, … complaints must plausibly allege that the [asserted] patent

was directly infringed to survive [a] motion to dismiss.”).

           D.      The Complaint Presents A Burdensome And Administratively Complex
                   Case That Can And Should Be Simplified

          Given the broad scope of the Complaint, this case will consume a disproportionate amount

of the Court’s resources as currently pleaded. The eight asserted patents cover a diverse set of

fields.    Specifically, two of the patents describe processing and routing data packets and

communications; another two are focused on reducing network traffic and congestion; another two

describe encoding and transcoding multimedia data; and the final two deal with webserver

processing more generally, such as caching and classifying webpages. The patents collectively

include 253 claims. There are 22 different named inventors across the eight patents. OM is

targeting at least 16 Oracle products and features covering functionality that ranges from network

traffic management and load balancing, to threat intelligence and firewalls, to Linux distributions

packaged by Oracle, to analytics and application performance monitoring, to media services and

media streams, and beyond. Compl., ¶¶ 79, 106, 135, 161, 183, 209, 230, 255. If the case proceeds

as currently structured, the claim construction process, summary judgment, Daubert, pretrial, and

trial will be significantly more complex than a more typical case. A trial would no doubt take

several weeks to complete and involve double-digit numbers of witnesses.


                                                 17
Case 1:23-cv-01249-MN         Document 9        Filed 01/18/24     Page 21 of 21 PageID #: 303




       Before filing this motion, Oracle described its concerns to OM and gave it the opportunity

to amend. It declined to do so. Given the burdens that this case, as structured, will create for the

Court and the parties, and given OM’s conclusory and inconsistent pleading, Oracle respectfully

requests that the Court dismiss the case and require OM to file an amended complaint that plausibly

alleges infringement.

V.     CONCLUSION

       For the foregoing reasons, the Court should dismiss the complaint.

                                                     Respectfully submitted,

                                                     /s/ Karen E. Keller
                                                     John W. Shaw (No. 3362)
                                                     Karen E. Keller (No. 4489)
                                                     Andrew E. Russell (No. 5382)
                                                     Lindsey M. Gellar (No. 7202)
 OF COUNSEL:                                         SHAW KELLER LLP
 Jared Bobrow                                        I.M. Pei Building
 Diana Rutowski                                      1105 North Market Street, 12th Floor
 Jason Yu                                            Wilmington, DE 19801
 Parth Sagdeo                                        (302) 298-0700
 ORRICK, HERRINGTON & SUTCLIFFE LLP                  jshaw@shawkeller.com
 1000 Marsh Road                                     kkeller@shawkeller.com
 Menlo Park CA 94025-1015                            arussell@shawkeller.com
 (650) 614-7400                                      lgellar@shawkeller.com
                                                     Attorneys for Defendant
 Michael Chow
 ORRICK, HERRINGTON & SUTCLIFFE LLP
 2050 Main Street, Suite 1100
 Irving, CA 92614
 (949) 567-6700

 Sarah Mullins
 ORRICK, HERRINGTON & SUTCLIFFE LLP
 405 Howard Street
 San Francisco, CA 94105
 (415) 773-5700

 Dated: January 18, 2024




                                                18
